Case 3:07-cr-30136-DRH-PMF      Document 537       Filed 08/30/10   Page 1 of 1   Page
                                    ID #1801



                 IN THE UNITED STATES DISTRICT COURT
                FOR THE SOUTHERN DISTRICT OF ILLINOIS

UNITED STATES OF AMERICA,

Plaintiff,

v.

PETER BRIAN FLORES,

Defendant.                                                  No. 07-30136-DRH


                                     ORDER

HERNDON, Chief Judge:

             Before the Court is Defendant Peter Brian Flores’ Motion to Continue

Sentencing Hearing (Doc. 536). Specifically, Defendant requests a three to four week

continuance for his sentencing hearing currently scheduled for September 3, 2010

as his attorney will not be available as he will be out of the office for a family

member’s surgery.      The Government has no objections to the continuance.

Accordingly, the Court GRANTS the motion to continue sentencing hearing (Doc.

536).   The sentencing hearing currently scheduled for September 3, 2010 is

CONTINUED until Friday, October 1, 2010 at 11:00 a.m.

             IT IS SO ORDERED.

             Signed this 30th day of August, 2010.

                                             /s/         DavidRHerndon
                                             Chief Judge
                                             United States District Court
